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Sonja Self v. The Kroger Co.; Kroger, and John Doe
State Court of Cobb County, State of Georgia
Civil Action File Number: 21-A-3406

Sonja Self v. The Kroger Co.; Kroger, and John Doe
USDC, Northern District, Atlanta Division
Civil Action File Number: TBA




                              EXHIBIT A:
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